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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                    for the
                                                       SouthernDistrict
                                                    __________ Districtof
                                                                        of__________
                                                                          Florida


   GWENDOLYN THOMPSON, on behalf of herself                              )
         and others similarly situated,                                  )
                                                                         )
                                                                         )
                            Plaintiff(s)                                 )
                                                                         )
                                v.                                            Civil Action No. 1:22-cv-21710-RNS
                                                                         )
                    HEALTHCARE, INC.,                                    )
                                                                         )
                                                                         )
                                                                         )
                           Defendant(s)                                  )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) HEALTHCARE, INC.
                                           c/o Paracorp Inc.
                                           2140 S Dupont Hwy
                                           Camden, DE 19934




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Avi R. Kaufman
                                           Kaufman P.A.
                                           237 S. Dixie Hwy, 4th Floor
                                           Coral Gables, FL 33133



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                CLERK OF COURT

               Jun 3, 2022
Date:
                                                                                          Signature ofs/Clerk
                                                                                                         M. Brown
                                                                                                              or Deputy Clerk
